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14

15                              UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA

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18                                               )
     UNITED STATES OF AMERICA,                   )   CASE NO.: 4:20-cv-07810-JSW
19                                               )
                  Plaintiff,                     )   DECLARATION OF MCKENNA
20                                               )
                                                 )   QUINT IN SUPPORT OF PLAID’S
           v.                                        PROPOSED TRIAL DATE
21                                               )
                                                 )
     VISA INC. and PLAID INC.,                   )
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                                                 )
23                Defendants.                    )
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                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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        DECLARATION OF MCKENNA QUINT IN SUPPORT OF PLAID’S PROPOSED TRIAL DATE
                                 CASE NO.: 4:20-cv-07810-JSW
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 1          I, McKenna Quint, declare as follows:

 2          1.      I am the Head of People at Plaid Inc. (“Plaid”), and have held this role since I

 3   joined Plaid in March 2019.

 4          2.      My responsibilities as Plaid’s Head of People include overseeing the recruitment,

 5   development, and retention of our talent; our diversity, equity, and inclusion initiatives that

 6   underpin our people and product; as well as responsibilities relating to our real estate and related

 7   office management activities. It is my duty to ensure that our talent, individually and

 8   collectively, are best positioned to help us achieve our mission.

 9          3.      As Plaid’s Head of People, I also have responsibilities related to the proposed

10   acquisition of Plaid by Visa Inc., which include employee communications about the transaction

11   and managing post-close employee incentives and benefits.

12          4.      The following facts are within my personal knowledge, and if called and sworn as

13   a witness, I could and would testify competently to these facts.

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            DECLARATION OF MCKENNA QUINT IN SUPPORT OF PLAID’S PROPOSED TRIAL DATE
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        DECLARATION OF MCKENNA QUINT IN SUPPORT OF PLAID’S PROPOSED TRIAL DATE
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